                         Case 8:12-cr-00379-TDC Document 47 Filed 12/05/13 Page 1 of 6
Sheet I - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)                                  _ALEC               ~lJffiIl'ellW' I of   6
                                                                                                              _lOGGED          --'PJilli~I!IVED

                                         United ~t~tes.District Court                                               DEC 0..1 2013,           I
                                                           Dlstnct of Maryland                                         ATGREENBE~T
                                                                                                                ClERK, U,S. DISTRICT .
                                                                                                                                           f7'
                                                                                                        ~'(        DISTRICTOF MAR      0
            UNITED STATES OF AMERICA                                           JUDGMENT        IN A CI<JMINAL CASE                          DEPlJT't
                                                                               (For Offenses Committed on or After November I, 1987)
                                    v.
                                                                               Case Numbers: PJM-8-12-CR-00379-00                1
                   OLUW ASEUN SANY A
                                                                               USM Number: N/A
                                                                               Defendant's Attorney: Kevin McCants

                                                                               Assistant U.S. Attorney: Sujit Raman

THE DEFENDANT:
~ pleadcd guilty to count 1 of the Criminal Information
o pleaded nolo contendere to count(s) __ , which was accepted by the court.
o was found guilty on count(s) __ after a plea of not guilty.
                                                                                                         Dale                            Count
          Title & Seelion                                  Nature of Offense                      Offense Concluded                    Number!s)
    18 U.S.C.     S   1029(b)(2)                 Conspiracy to Commit Access                          June2012                                 1
                                                         Device Fraud




    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through    6    of this judgment. The sentence is imposed pursuant to the Sentencing Refornl Act of 1984 as
modified by U.S. v. Booker, 125 S. Ct. 738 (2005).

o   Thc defendant has been found not guilty on count(s) __
o   Counts    are dismissed on the motion of the Unitcd States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all lines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

                                                                                November 19,2013
                                                                               Date of Imposition of Judgment




                                                                                          essitte                  Date
                                                                                         nited States District Judgc

Name of Court Reporter:       Renee Ewing
                              301-344-3227
                            Case 8:12-cr-00379-TDC Document 47 Filed 12/05/13 Page 2 of 6
Shccl2.     Judgment in a Criminal Case with Supervised Release (Rev, 1112011)                                           Judgment Page 2 of 6
DEFENDANT:             OLUWASEUN           SANYA                                                 CASE NUMBER: PJM-8-12-CR-00379-001



                                                                  IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 90 months as to Count 1 of the Criminal Information.

rzJ   The court makes the following recommendations to the Bureau of Prisons:

      rzJ    That the defendant participate in any substance abuse program for which he may be eligible.

      rzJ    That the defendant participate in any appropriate mental health evaluation and treatment program.

rzJ   The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:

      o      at __      a.m.lp.m. on __    '
      o      as notified by the United States Marshal.

o     The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
      at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
      the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

      o      before 2 p.m. on __              '

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~31-l6. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall he subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or proper!)' posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                          RETURN
1 have executed this judgment as follows:

      Defendant delivered on __                    to __         at __       , with a certilied copy of this judgment.




                                                                             UNITED STATES MARSHAL


                                                                             By:                                                      _
                                                                             DEPUTY U.S. MARSHAL
                          Case 8:12-cr-00379-TDC Document 47 Filed 12/05/13 Page 3 of 6
Sheet 3 - Judgment in a Criminal Case with Supcrvised Releasc (Rey. 11/20 II)                                                         Judgment Pagc 3 of 6
()EFENDANT:          OLUWASEUN           SANY A                                                    CASE NUMBER: PJM-8-12-CR-00379-00                 I


                                                          SUPERVISED                RELEASE
    Upon release from imprisonment,                    the defendant        shall be on supervised        release   for a term of      3 vears as to
Count   I of the Criminal Information                   .


The    defendant       shall   comply      with    all of the following         conditions:

    The defendant    shall report to the probation office in the districi                      to which     the defendant     is released   within       72
hours ofrelease   from the custody of the Bureau of Prisons.


                               A.     STATUTORY               CONDITIONS            OF SUPERVISED               RELEASE
I)    The defendant      shall not commit any federal, state or local crime.
2) In any felony case, the defendant shall not possess a firearm or ammunition                       as defined     in 18 U.S.c.    9921.
3)    The defendant shall not illegally use or possess a controlled substance.
4)    The defendant shall submit to one drug test within 15 days of release                       from imprisonment         and at least two periodic
      drug tests thereafter, as directed by the probation officer.
D     The above drug testing condition is suspended based on the court's determination         that the defendant poses a low risk
      of future substance abuse. (Check, if applicable.)
5)    Pursuant to Pub. Law 108-405, Revised DNA Collection             Requirements   Under the Justice for All Act of 2004, if
      applicable, the defendant shall cooperate in the collection of DNA while incarcerated          in the Bureau of Prisons, or as
      directed by the probation officer.
6)    If this judgment imposes any criminal monetary penalty, including special assessment, fine, or restitution, it shall be a
      condition    of supervised  release that the defendant     pay any such monetary        penalty that remains unpaid at the
      commencement       of the tenn of supervised     release in accordance   with the Schedule of Payments set forth in the
      Criminal Monetary Penalties sheet of this judgment.        The defendant shall notify the e01ll1 of any material change in
      the defendant's   economic circumstances     that might affect the defendant's   ability to pay restitution, fines, or special
      assessments.

                                B.       STANDARD CONDITIONS                                  OF SUPERVISION
I)    The defendant shall not leave the judicial district without the pennission of the court or probation omcer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation omcer and follow the instructions of the probation oftieer;
4)    The defendant shall support his or her dependents and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    The defendant shall notify the probation omcer ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of aleohol;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation omcer within 72 hours of being arrested or questioned by a law enforcement omcer;
12)   The defendant shall notify the probation omcer within 72 hours of being charged with any offense, including a traffic offense;
13)   The defendant shall not enter into any agreement to act as an inrormer or special agent ora law enrorcement agency \vithout the
      permission orthe court;
14)   As directed by the probation omcer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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Sheet 4 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)                            Judgment Page 4 of 6
DEFENDANT:OLUWASEUNSANYA                                                       CASE NUMBER: PJM.g.12.CR.00379.00J


                                                    C.  SUPERVISED RELEASE
                                                     ADDITIONAL CONDITIONS


SUBSTANCE ABUSE
  ~ The defendant shall satisfactorily participate in a treatment program approved by the probation officer
     relating to substance and/or alcohol abuse, which may include evaluation, counseling, and testing as
     deemed necessary by the probation officer.


ACCESS TO FINANCIAL INFORMATION
  ~ The defendant shall provide the probation of/ker with access to any requested financial information.


CREDIT RESTRICTION
     ~ The defendant shall not incur new credit charges or open additional lines of credit without approval of
       the probation officer.


AFFIDAVIT
     ~ Thc dcfendant shall during the term of supervised release provide to the probation officer every six
       months an affidavit indicating that he has no knowledge of the whereabouts of any proceeds of crime
       and he has not received them.
                          Case 8:12-cr-00379-TDC Document 47 Filed 12/05/13 Page 5 of 6

Sheet 5, Part A - Judgment in a Criminal Case with Supervised Rc1ease (Re\'. 11/2011)                                                         Judgment Page 5 of 6
DEFENDANT:           OLUWASEUN             SANY A                                                           CASE NUMBER: PJM-8- J 2-CR-00379-00 I


                                                CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                               Fine                                 Restitution
 TOTALS               S 100.00                                               S Waived                                S 251,712.87
  o       CVB Processing Fee S25.00



  o      The determination     of restitution   is deferred                    10 ....nll.'r lJ Jall..•.. An Amended Judgment in a Criminal Case (AO 245C)
                                                              until C1id 11(,:1"\:
                                                                                                  will be entered after such determination.

  o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.s.c. ~ 3664(i), all nonfederal
       victims must be paid before the United States is paid.
          Name of Payee                    Total Loss*                   Restitution Ordered               Priority or Percentage
   Clerk, U.S. District Court                                                 $251,712.87
     Ann: Finance Department
 101 West Lombard Street
 41h Floor
 Baltimore, MD 2120 I
     (Payable to victims as
 Indicated in Section IX)




 TOTALS                                    $                                          $             251,712.87


  o      Restitution amount ordered pursuant to plea agreement                     $251,712.87

  o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.c. ~ 3612(1). All of the payment options on Sheet 6
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. ~ 3612(g).

  [8]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         r2J the interest requirement is waived for the               0     fine          1ZI restitution

         o the interest requirement for the 0 fine        0 restitution is modified as follows:
  • Findings for the total amount of losses are required under Chapters 109A, 110, 1IDA, and 1I3A of Title 18 for offenses
  committed on or after September 13, 1994, but before April 23, 1996.
                          Case 8:12-cr-00379-TDC Document 47 Filed 12/05/13 Page 6 of 6
Sheet 6 . Judgment in a Criminal Case with Supervised Release (Rev. 11120 II)                                                     Judgment Page 6 of 6
DEFENDANT:           OLUWASEUN              SA NY A                                              CASE NUMBER: PJM.8.12.CR.00379.001


                                                        SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      0 In full immediately; or

B     181 A Special Assessment ofS            100.00       immediately, balance due (in accordance with C, 0, or E); or

C     0 Not later than               ; or

o      0 Installments to commence                      day(s) arter the date of this judgment.

E      181 In monthly (e.g. equal weekly, lIIonthly, quarrerly) installments of S 100.00                     over a period of      3        year(s) to
           commence 30 days after release from custody.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment. payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement              of supervision, the balance shall be paid:

      o    in equal monthly installments during the term of supervision; or

      o    on a nominal payment schedule of $                    per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's                    financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

181 Joint and Several

      Defendant and Co. Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

      PJM.12.CR.0291.001   - Dimitria Michele Limnios, PMJ.I3-CR.0235.00 1 Chiazokam Okoye, PJM -8-13-CR-040 1-00 I. Latasha
      Bufford, PJM .8.13-CR-0491-00 I.Shanese Crawford, all jointly and severally in the amount of$251, 712.87.


o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

181 The defendant shall forfeit the defendant's interest in the following property to the United States:

      See attached    Order of Forfeiture
